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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MICHAEL R. MICHAEL,                              )
                                                  )
         Plaintiff,                               )
                                                  )
         v.                                       )
                                                  )
 ALLEVIATE FINANCIAL                              )         Case No. 4:23-cv-01731-SRC
 SOLUTIONS, LLC,                                  )
                                                  )
         Defendant.                               )
                                                  )
                                                  )

                                                Order

       Before the Court is the parties’ joint stipulation to stay proceedings pending arbitration.

Doc. 4. The parties explain that they have agreed to arbitrate their dispute and agree that the

Court should stay proceedings in this case. Id. The Court construes their stipulation as a joint

motion for a stay of proceedings and grants the motion.


       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Cottrell v. Duke, 737 F.3d 1238, 1248 (8th Cir. 2013) (quoting

Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). Further, district courts enjoy broad discretion

to stay proceedings when appropriate to control their dockets. Sierra Club v. U.S. Army Corps of

Eng’rs, 446 F.3d 808, 816 (8th Cir. 2006) (citing Clinton v. Jones, 520 U.S. 681, 706 (1997)).

Here, the Court finds that a stay of proceedings is appropriate: it permits the parties to seek a

resolution of this dispute without the need for litigation, both parties jointly request the stay, and

a stay would control the Court’s docket and conserve resources. See also Green v. SuperShuttle
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Int’l, Inc., 653 F.3d 766, 770–71 (8th Cir. 2011) (Shepherd, J., concurring) (explaining that

courts should stay, rather than dismiss, a case when the dispute proceeds to arbitration).


        Accordingly, the Court stays this case pending arbitration pursuant to the terms of the

parties’ joint stipulation. The Court orders the parties to provide a joint status report regarding

the progress of arbitration proceedings no later than April 10, 2024. The parties must also

submit a notice updating the Court no later than 10 days following the conclusion of arbitration

proceedings. The parties must continue to comply with all orders of the Court, provide status

updates to the Court, and promptly notify the Court of any development that may affect the stay

of this case.

        So ordered this 10th day of February 2024.




                                               STEPHEN R. CLARK
                                               CHIEF UNITED STATES DISTRICT JUDGE




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